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IN THE UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re:
SERTA SIMMONS BEDDING, LLC, CHAPTER 11
Et al.,

Case No. 23-90020
Debtors.
Jointly Administered

MOTION FOR RELIEF FROM STAY

Sally Erickson, a Creditor in this case, moves this Court to enter an Order
lifting the automatic stay for cause to allow her to proceed with arbitration.

This is a motion for relief from the automatic stay. If it is granted, the
movant may act outside of the bankruptcy process. If you do not want the stay
lifted, immediately contact the moving party to settle. If you cannot settle, you
must file a response and send a copy to the moving party at least 7 days before the
hearing. If you cannot settle, you must attend the hearing. Evidence may be
offered at the hearing and the court may rule.

Represented parties should act through their attorney.
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There will be a hearing on this matter on June 6, 2023 at 2:30 PM in

courtroom 400, 515 Rusk, Houston, TX 77002.

ISSUES PRESENTED

Arbitration. The Supreme Court has held that courts must enforce
arbitration agreements unless the party trying to avoid arbitration can show that
congress intended to preclude arbitration for the statutory rights at issue. Debtor
SSB required creditor Sally Erickson to sign an agreement to arbitrate any legal
disputes arising out of her employment with SSB. Erickson initiated arbitration
against SSB for violation of a federal employment law. Can SSB show that
Congress intended to preclude arbitration of Erickson’s employment-law claim?

FAA vs. Bankruptcy Code. In conflicts between the Federal Arbitration
Act and the Bankruptcy Code, the Bankruptcy code only supersedes the FAA when
a case in arbitration has some relationship with the bankruptcy code; that the
arbitration case involves a “core” bankruptcy proceeding. Sally Erickson’s
arbitration claim involves a violation of the ADEA arising out SSB’s termination
of her employment, was initiated before SSB’s bankruptcy filing and has nothing
to do with issues arising out of the bankruptcy code or SSBs bankruptcy filing.
Does the bankruptcy code supersede the FAA and permit Erickson’s employment

claim to be heard in the bankruptcy court?
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For cause. Bankruptcy courts lack discretion to refuse to compel arbitration
in non-core matters. As Sally Erickson's arbitration with SSB is non-core, if the
court can't decline to compel non-core arbitration, must the automatic stay be lifted

for cause?

I. Brief Background

1. The Debtor in this action, Serta Simmons Bedding, LLC hired Ms.
Erickson into the position of Senior Vice President Corporate Controller in April
2015.

2. Serta Simmons Bedding, LLC required Ms. Erickson to sign an
Arbitration Agreement as a condition of her employment with the company
wherein the parties agreed to submit all disputes arising out of the employment

relationship to arbitration.
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EXHIBIT A - ARBITRATION CLAUSE

(1) In consideration of the benefits described in the letter agreement executed by
SALLY ERICKSON (the “Employee” or ”you”) and SERTA SIMMONS BEDDING, LLC, a
Delaware limited liability company (the “Company” and together with its subsidiaries, parents,
joint ventures, affiliated entities and their respective successors and assigns, the “Company
Group”), on the same date hereto and into which this Exhibit A is incorporated (“Agreement”),
the parties hereby agree that any controversy or claim arising under federal, state and local
statutory or common or contract law between the Company Group and you involving the
construction or application of any of the terms, provisions, or conditions of the Agreement,
including, but not limited to, breach of contract, tort, and/or fraud, must be submitted to
arbitration on the written request of the parties served on the other. Arbitration shall be the
exclusive forum for any such controversy, excluding only an action seeking equitable relief,
including injunctive relief and specific performance in connection with a breach of the
provisions of this Agreement, which may be brought in a court of competent jurisdiction in the
State of Georgia. For example, if the Company and you disagree as to whether the Company had
Cause, as defined by the Agreement, to terminate your employment or if the Company and you
have a dispute concerning the interpretation or enforceability of one or more restrictive
covenants, the parties will resolve the dispute exclusively through arbitration. The Arbitrator’s
decision shall be final and binding on the parties.

Excerpt from arbitration clause dated April 9, 2015.

3. Indeed, the Arbitration Agreement requires Ms. Erickson to bring all
claims arising out of her employment to the American Arbitration Association.

4. On November 4, 2022, Ms. Erickson submitted a Demand for
Arbitration to the American Arbitration Association, Employment Arbitration

Tribunal for violations of the Age Discrimination in Employment Act.
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AMERICAN
ARBITRATION
ASSOCIATION"

INTERNATIONAL CENTRE
FOR DISPUTE RESOLUTION

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November 29, 2022

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Case Number: 01-22-0004-6861

Sally A. Erickson

-Vs-

Serta Simmons Bedding, LLC

Dear Parties:

The American Arbitration Association (the AAA) acknowledges receipt of a Demand for Arbitration, which has

been filed with us in accordance with the employment plan or contract containing a clause providing for
administration by the AAA.

Excerpt from AAA Case Initiation letter.

6. On January 23, 2023, Serta Simmons Bedding, LLC filed voluntary

petitions for relief under Chapter 11 of Title 11 of the United States Code (11
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U.S.C. § 101, et. seq.) in the United States Bankruptcy Court for the Southern
District of Texas.

7. Ms. Erickson now seeks relief from the automatic stay so that she can
continue to arbitrate her claims.
Il. Legal Analysis

8. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. Section 362(a) of the Bankruptcy Code provides that a bankruptcy court
Shall grant a moving party relief from the automatic stay if, among other things,
cause exists. 11 U.S.C. § 362(d)(1).

9. Section 362(d) of the Bankruptcy Code allows a party in interest to
request relief from the automatic stay for cause. 11 U.S.C. § 362(d).

10. | Under the Federal Arbitration Act, written agreements to arbitrate
controversies arising out of an existing contract "shall be valid, irrevocable and
enforceable.” 9 U.S.C. § 2. The arbitration agreement between Ms. Erickson and
Serta Simmons Bedding, LLC is a valid and enforceable agreement.

11. Further, no conflict exists between the enforcement of the arbitration
agreement and the Bankruptcy Code. See Gandy v. Gandy (In re Gandy), 299 F.3d

489, 495 (5th Cir. 2002).
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12. Bankruptcy courts do not have the discretion to decline to enforce an
arbitration agreement relating to a non-core proceeding. Jd. Ms. Erickson’s claims
involve non-core proceedings involving issues that arose prior to the filing of the
bankruptcy.

13. Indeed, Ms. Erickson’s claim for arbitration is not a core proceeding. A
core proceeding exists only because of a bankruptcy. In other words, a proceeding
is “core” if (1) it involves a right created by federal bankruptcy law; or (2) it would
arise only in bankruptcy. Gandy v. Gandy (In re Gandy), 299 F.3d 489, 495 (Sth
Cir. 2002); In re Nat’] Gypsum Co., 118 F.3d 1056, 1067 (Sth Cir. 1997) (setting
forth the “National Gypsum test’). “Under this test, if the court determines that a
proceeding does not derive exclusively from the Code, the court has no choice but
to abstain and allow the parties to arbitrate the matter.” In re Mirant Corp., 316
B.R. 234, 238 (Bankr. N.D. Tex. 2004).

14. “Bankruptcy courts do not have discretion to decline to enforce an
arbitration agreement relating to a non-core proceeding.” Jd. A proceeding is not
core “if the proceeding does not invoke a substantive right created by the federal

bankruptcy law and is one that could exist outside of bankruptcy.” Jd.
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15. Here, Ms. Erickson’s demand for arbitration was filed before Serta
Simmons Bedding, LLC filed for bankruptcy protection, and her claim involves
issues arising outside of the bankruptcy filing.

16. Balancing the policies of the Federal Arbitration Act and the
Bankruptcy Code, the factors weigh in providing Ms. Erickson relief from the
automatic stay to allow her to arbitrate her claims.

Accordingly, Sally Erickson requests that the Court enter an Order lifting the

Automatic Stay in this matter and allowing her arbitration case to proceed.

Submitted this 9th day of May, 2023.

_ls/ Benjamin F. Barrett
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Attorney for Creditor Sally Erickson
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Certificate of Conference

The Movant’s counsel contacted the Debtor’s counsel by email on April 17,
2023 with a detailed message about why the stay should be lifted and requesting to
speak on the telephone in an attempt to resolve the Motion. Debtor’s counsel
responded by email on May 1, 2023. We had a conversation by email on May 2,
2023 and and we were unable to resolve the Motion.

/s/Benjamin F_ Barrett
Benjamin F. Barrett

Certificate of Service
I hereby certify that, on May 9, 2023, a true and correct copy of the
foregoing document was served by the Electronic Case Filing System for the

United States Bankruptcy Court for the Southern District of Texas.

/s/Benjamin F. Barrett
Benjamin F. Barrett
